59 F.3d 1248
    Resolution Trust Corporation, David A. Glant, Susan K. Glantv.John Lamb, President, Duval Federal Savings and LoanAssociation, Duval Federal Savings &amp; Loan Association, PaulKirkland, William Dudley, Directors, Resolution TrustCorporation, Therial Barnhill, President, United SavingsAssociation of Texas, FSB, United Savings Association of Texas, FSB
    NO. 93-3039
    United States Court of Appeals,Eleventh Circuit.
    June 19, 1995
    M.D.Fla., 53
    F.3d 1284
    
      1
      DENIALS OF REHEARING EN BANC.
    
    